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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA            )
MAPLEY,                                 )
                                        )    Case No. CV-20-52-BLG-SPW
                    Plaintiffs,         )
                                             PLAINTIFFS’ MOTION TO
                                        )
      vs.                                     COMPEL RE: WAIVED
                                        )
                                                  PRIVILEGE
WATCHTOWER BIBLE AND TRACT              )
SOCIETY OF NEW YORK, INC.,              )
WATCH TOWER BIBLE AND TRACT             )
SOCIETY OF PENNSYLVANIA, and            )
BRUCE MAPLEY SR.,                       )
                                        )
                    Defendants,         )
                                        )
WATCHTOWER BIBLE AND TRACT              )
SOCIETY OF NEW YORK, INC.,              )
             Cross Claimant,            )
                                        )
BRUCE MAPLEY, SR.,                      )
            Cross Defendant.            )
                                        )
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      Plaintiffs, by and through counsel of record, respectfully move the Court to

issue an Order concluding:

   1. Bruce Mapley Sr. waived any privilege he may have had over his admission

      to sexually molesting Tracy Caekaert when he voluntarily disclosed that

      information to his entire family;

   2. Gunnar Hain waived any privilege he may have had over his admission to

      sexually molesting Tracy Caekaert when he voluntarily disclosed that

      information to Bruce Mapley Sr.;

   3. Defendants should produce all documents pertaining to Mapley Sr.’s and

      Hain’s sexual molestation of Tracy Caekaert that are being withheld based

      on the claim of clergy-penitent privilege;

   4. Counsel are not permitted to rely on the clergy-penitent privilege to instruct

      witnesses at depositions to not answer questions pertaining to Mapley Sr.’s

      and Hain’s sexual abuse of Tracy Caekaert, including questions about how

      allegations of that abuse were handled by church elders in Hardin, MT and

      the Defendants.

A brief in support of this Motion is being filed contemporaneously herewith.

      Pursuant to both Fed. R. Civ. Pro. 37 and L.R. 26.3, Plaintiffs’ counsel

certifies that they conferred with WTNY’s counsel—through a series of written

communications and a phone call—and that the result of such efforts was a

                      Plaintiffs’ Motion to Compel re: Waived Privilege
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disagreement about whether Mapley Sr. and Hain had waived their respective

claims of clergy-penitent privilege pertaining to their sexual molestation of Tracy

Caekaert. At the end of that conferral process, WTNY stated that it objected to

Plaintiffs’ Motion and further stated that it did not believe Plaintiffs’ counsel had

met its obligations to confer under Fed. R. Civ. Pro. 37.1

      WTPA objects to this Motion.

      Plaintiffs sought Mapley Sr.’s position on this Motion by email on August 8,

2022. While Mapley Sr. did not respond directly, his recent submission to the

Court indicates that he objects. ECF Doc. 131 at 14.

      DATED 11th day of August, 2022.

                                     MEYER, SHAFFER & STEPANS PLLP


                                     By: /s/ Ryan Shaffer
                                            Ryan R. Shaffer
                                            MEYER, SHAFFER & STEPANS PLLP

                                             Attorneys for Plaintiffs




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  WTNY did not specify why it believed that the parties’ conferral efforts were
insufficient.
                       Plaintiffs’ Motion to Compel re: Waived Privilege
             Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
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                           CERTIFICATE OF SERVICE

      Pursuant to Local Rule 1.4, this document has been served on all parties via

electronic service through the Court’s Case Management/Electronic Case Filing

(CM/ECF) system.

                                    By: /s/ Ryan Shaffer
                                           Ryan R. Shaffer
                                           MEYER, SHAFFER & STEPANS PLLP

                                            Attorneys for Plaintiffs




                      Plaintiffs’ Motion to Compel re: Waived Privilege
            Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
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